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                                                                       FILED
                                                                U.S. DISTRICT COURT
                                                                    SAVA.HT^AH DIV.
                 IN THE UNITED STATES DISTRICT COURT
                                                               ZOlgwnv 16 ftMlh39
                 FOR THE SOUTHERN DISTRICT OF GEORGIA

                                                              CIERK
                             STATESBORO DIVISION
                                                                    SO.OISTjaFGA.


THE UNITED STATES OF AMERICA,

                Plaintiff,

                 V.                               6:18CR14


ALFRED ANTHONY WOODS,

                Defendant.




                                   ORDER




     Counsel in the above-captioned case have advised the Court

that all pretrial motions have been complied with and/or that all

matters raised in the parties' motions have               been resolved by

agreement.     Therefore,     a    hearing   in    this      case     is   deemed

unnecessary.    All motions are dismissed.


                              //
     SO ORDERED,      this   /b    day of November, 2018.



                                     ITED STATES MAGISTRATE JUDGE
                                     UTHERN DISTRICT OF GEORGIA
